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5
      Attorney for Plaintiff Hugh Nguyen
6     and the Proposed Class
7
                                UNITED STATES DISTRICT COURT
8
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
9

10
      HUGH NGUYEN, an individual, on behalf of     Case No.: 8:19-CV-01422-JLS-JDE
11    himself and all others similarly situated,
                                                   STIPULATION TO EXTEND TIME TO
12                                                 RESPOND TO COMPLAINT BY NOT
                                Plaintiff,         MORE THAN 30 DAYS (L.R. 8-3)
13
                    v.
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15
      TESLA, INC., d/b/a/ TESLA MOTORS, INC.,
16    a Delaware Corporation,                      Complaint Served: August 12, 2019
17                                                 Current Response Date: September 3, 2019
18
                                Defendant.         New Response Date: October 3, 2019
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                         STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
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             Pursuant to Local Rule 8-3, Plaintiff Hugh Nguyen and Defendant Tesla, Inc., by and
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      through their undersigned counsel, stipulate as follows:
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             WHEREAS, Plaintiff filed the Complaint in this action on July 25, 2019, and served
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      Defendant with the Complaint on August 12, 2019;
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             WHEREAS, under Federal Rule of Civil Procedure 12, Defendant’s deadline to respond
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      to the Complaint is September 3, 2019; and
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             WHEREAS, the parties have agreed that the deadline for Defendant to respond to the
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      Complaint shall be extended by thirty (30) days from the current response date, to and including
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      October 3, 2019, to provide Defendant with sufficient time to investigate the allegations, secure
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      representation, and prepare its response;
11
             NOW THEREFORE, IT IS HEREBY AGREED AND STIPULATED that Defendant’s
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      deadline to respond to the Complaint shall be extended by thirty (30) days from the current
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      response date, to and including October 3, 2019.
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15
      Dated August 29, 2019                        LAW OFFICES OF EDWARD C. CHEN
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17                                                 By:     /s/ Edward C. Chen
                                                           Edward C. Chen (SBN 312533)
18                                                         Attorney for Plaintiff Hugh Nguyen
                                                           and the Proposed Classes
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21    Dated August 29, 2019                        TESLA, INC.

22                                                 By:     /s/ Candace Jackman
                                                           Candace Jackman (SBN 267599)
23                                                         Attorney for Defendant Tesla, Inc.
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                        STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
     Case 8:19-cv-01422-JLS-JDE Document 11 Filed 08/30/19 Page 3 of 3 Page ID #:102



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                                           ECF ATTESTATION
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             I, Edward C. Chen, am the ECF user whose identification and password are being used to
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      file this STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT BY NOT
4
      MORE THAN 30 DAYS (L.R. 8-3). In accordance with Local Rule 5-4.3.4(a)(2)(i), I hereby
5
      attest that concurrence in and authorization of the filing of this document has been obtained from
6
      Candace Jackman, counsel for Defendant, and I shall maintain records to support this
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      concurrence for subsequent production for the Court is so ordered or for inspection upon request
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      by a party.
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11    Dated August 29, 2019                                By:    /s/ Edward C. Chen
                                                                  Edward C. Chen
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                        STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
